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 6   Attorney for Defendant,
     ANDREW CONWAY
 7

 8                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:06-cr-00476-MCE
11

12
                Plaintiff,                              STIPULATION AND ORDER

13        vs.                                           DATE: May 1, 2008
                                                        TIME: 9:00 AM
14   ANDREW CONWAY,                                     JUDGE: Hon. Morrison England

15              Defendant.

16

17          It is hereby stipulated and agreed to between the United States of America through Jason
18   Hitt, Assistant U.S. Attorney, and defendant Andrew Conway, by and through his attorney, Dan
19
     Koukol, that the status conference of May 1, 2008 be vacated and that a status conference be set
20
     for July 3, 2008 at 9:00 AM.
21
            This continuance is being requested because the parties need additional time to discuss
22
     the case with the government and negotiate plea agreements. Furthermore Counsel is awaiting
23
     discovery material which has been requested but not yet provided. The parties request that the
24
     speedy trial time is excluded from the date of this order through the date of the status conference
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26
     set for July 3, 2008 at 9:00 AM pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) [reasonable time to

27   prepare] (Local Code T4).

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 1
     DATED: APRIL 30, 2008             Respectfully submitted,
 2

 3
                                 /s/ DAN KOUKOL
 4
                                 _________________________________
                                 DAN KOUKOL
 5                               Attorney for defendant Andrew Conway

 6

 7   DATED: APRIL 30, 2008             Respectfully submitted,

 8
                                 /s/ DAN KOUKOL FOR
 9
                                 _________________________________
10
                                 Jason Hitt
                                 Assistant U.S. Attorney
11
     IT IS SO ORDERED
12
     DATED: May 6, 2008
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14

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16
                              __________________________________
                              MORRISON C. ENGLAND, JR
17                            UNITED STATES DISTRICT JUDGE

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